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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,
v.

Criminal Action No. 23-61 (MN)

ROBERT HUNTER BIDEN,

Defendant.

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JURY VERDICT FORM
L. As to Count One, charging the defendant with making a false statement in

connection with the acquisition of a firearm, we the jury find the defendant:

Not Guilty J/___ Guilty

2 As to Count Two, charging the defendant with making a false statement with

respect to information required to be kept in records, we the jury find the defendant:
Not Guilty J Guilty

3, As to Count Three, charging the defendant with possession of a firearm by a person

who is an unlawful user of or addicted to a controlled substance, we the jury find the defendant:

Not Guilty V Guilty
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The foregoing constitutes the unanimous verdict of the jury.

Date: June | | 2024

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